




 











&nbsp;

IN THE

TENTH COURT OF APPEALS




 
  
 
 
  
  
 


&nbsp;



No. 10-05-00318-CR

&nbsp;

Mike McKenna 

d/b/a Bondman Bail Bonds,

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Appellant

&nbsp;v.

&nbsp;

The State of Texas,

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Appellee

&nbsp;

&nbsp;

&nbsp;



From the 18th District Court

Johnson County, Texas

Trial Court No. B200100005

&nbsp;



O p i n i o n



&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; 

McKenna, a professional
bondsman, was the surety on a $25,000 bail bond on which Belinda Lee Powell was
the principal and the person charged with the offense. &nbsp;After she failed to
appear, judgment nisi was entered.&nbsp; A final default judgment for forfeiture of the
full amount of the bond was entered after McKenna failed to appear at the bond
forfeiture hearing.&nbsp; McKenna filed a motion for special bill of review, which the
trial court denied.&nbsp; He appeals that denial and brings two issues for review.




Disqualification and Recusal

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; In his first issue, McKenna argues the
trial judge violated Texas Rule of Civil Procedure 18b by failing to recuse
himself from the proceedings.&nbsp; McKenna argues that the judge should have recused himself because his impartiality might reasonably be questioned and he has
a personal bias or prejudice concerning the subject matter or a party.&nbsp; Tex. R. Civ. P. 18b(2)(a), (b).&nbsp;
In
the alternative, he argues the judge was disqualified
because he has “an interest in the subject matter
in controversy.”&nbsp; Tex.
R. Civ. P. 18b(1)(b).

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; A
judge may be removed from a particular case either because he is
constitutionally disqualified, subject to a statutory strike, or recused under
rules promulgated by the Texas Supreme Court. &nbsp;See Tex. Const. art. V, § 11; Tex. Gov't Code Ann. § 74.053(d) (Vernon 2005); Tex.
R. Civ. P. 18a, 18b; Tex.
R.
App. P. 16.&nbsp; The grounds and procedures for each type of removal
are fundamentally different.&nbsp; In re Union Pacific Res. Co., 969 S.W.2d
427, 428 (Tex. 1998).

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Texas
Rule of Civil Procedure 18a(a) requires that a motion for recusal “shall be
verified and must state with particularity the grounds why the judge before whom the case is pending
should not sit.” &nbsp;Tex. R. Civ. P.
18a(a).&nbsp; The procedural requirements for recusal set out in this rule are
mandatory and a party who fails to comply waives his right to complain of a
judge's failure to recuse himself.&nbsp; Union Pacific, 969 S.W.2d at 428.&nbsp;
McKenna failed to file a motion for recusal.&nbsp; Accordingly, we conclude that
McKenna waived his claim for statutory recusal by failing to specifically
request it by a verified Rule 18a motion before the trial court.

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; McKenna also failed to
file a motion for disqualification.&nbsp; However, unlike recusal, disqualification
cannot be waived.&nbsp; Buckholts Indep. Sch. Dist. v. Glaser, 632
S.W.2d 146, 148 (Tex. 1982).&nbsp; If
a judge is disqualified, he is without jurisdiction to hear the case, and
therefore, any judgment he renders is void and a nullity.&nbsp; Id. &nbsp;Further,
disqualification may be raised at any time.&nbsp; Id.

There
are three Constitutional grounds for disqualification in a civil case.&nbsp; See Tex. Const. art. V, § 11; Tex. R. Civ. P.
18b(1).&nbsp; McKenna
relies upon the ground which prohibits a judge from sitting in a case in which
he may have an “interest.”&nbsp; Id.&nbsp; However,
for a judge to be disqualified, the interest must be
a direct pecuniary or property interest in the subject matter of the litigation.&nbsp;
Gulf Maritime Warehouse Co. v. Towers, 858 S.W.2d 556, 558 (Tex. App.—Beaumont 1993, writ denied).

At the time of the bill of review hearing, McKenna’s bail bond
license was suspended.&nbsp; The trial judge who presided over the hearing is a
member of the Johnson County Bail Bond Board which suspended the license.&nbsp; The
judge also presided over a case in which McKenna’s employee, Tony Smith,
challenged the refusal of the board to grant him a license as McKenna’s agent.&nbsp;
Simply because the trial judge serves on the Bail Bond Board and has presided
over cases involving a party in the past is not sufficient for
disqualification.&nbsp; McKenna
failed to show that the trial judge had a pecuniary
or property interest in the subject matter of the litigation.&nbsp; Accordingly, disqualification
is not required.&nbsp; We overrule issue one.

Bill of Review

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; After a final judgment is entered in a bond forfeiture proceeding,
the surety on the bond may file with the court a special bill of review
requesting, on equitable grounds, that the final judgment be reformed and that
all or part of the bond amount be remitted to the surety.&nbsp; Tex. Code Crim. Proc. Ann. art.
22.17(a) (Vernon 1989).&nbsp; The decision to grant or deny the bill, in whole or in
part, is entirely within the discretion of the trial court. &nbsp;Id.&nbsp; “In
determining whether the trial court abused its discretion, we must determine if
the judge acted without reference to any guiding rules and principles, or, in
other words, whether the court acted arbitrarily or unreasonably.”&nbsp; Lyles v.
State, 850 S.W.2d 497, 502 (Tex. Crim. App. 1993) (citing Makeig
v. State, 830 S.W.2d 956 (Tex. Crim. App. 1992) (adopting
the decision and reasoning of Makeig v. State,
802 S.W.2d 59, 62 (Tex. App.—Amarillo 1990)).

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Article 22.17 contains no guidelines for the exercise of the
court’s discretion.&nbsp; Lyles, 850 S.W.2d at 502.

As in the case where the
surety seeks exoneration, a surety seeking a remittitur bears the burden of
pleading and proving facts to justify his request.&nbsp; See Hill v. State, 920
S.W.2d 468, 472 (Tex. App.—Waco 1996), rev’d on other grounds, 955
S.W.2d 96 (Tex. Crim. App. 1997).

A special bill of review proceeding under article 22.17 should
take into account that the object and purpose of bail is to secure the presence
of the accused for disposition of the criminal charges against her.&nbsp; Gramercy
Ins. Co. v. State, 834 S.W.2d 379, 381 (Tex. App.—San Antonio 1992, no pet.).
&nbsp;The trial court should also consider the following factors:

(1)&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; a
bail bond is not punitive, nor is it intended to be a substitute for a fine or
a revenue device to enrich the government’s coffers;

&nbsp;

(2)&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;
the government’s
cost and inconvenience in regaining custody;

&nbsp;

(3)&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;
the delay caused by
the principal’s failure to appear;

&nbsp;

(4)&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;
the willfulness of
the principal’s breach of the bond conditions;

&nbsp;

(5)&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;
the public interest
in insuring the principal’s appearance;

&nbsp;

(6)&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;
the participation
of the surety in rearresting the principal; and 

&nbsp;

(7)&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;
the prejudice
suffered by the government.

&nbsp;

Id. at 382.&nbsp; 

In applying the Gramercy factors, we find that the record
reflects the following:

(1)&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; The
State argued that it incurred expenses for the “time and effort” of the judge,
bailiff, court coordinator, and other court staff.&nbsp; It also cited the “costs
for personnel to enter the capias issued by the judge for the
Defendant-Principal’s arrest as well as costs incurred by the Johnson County
Sheriff[‘s] Office for the arrest ….”&nbsp; However, there is no evidence in the
record regarding any cost or inconvenience to the State in regaining custody of
Powell.&nbsp; In fact, she was located within Johnson county.&nbsp; The State did not
incur any expenses in transporting her from another county.

&nbsp;

(2)&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Powell
failed to appear on January 18, 2001 and was arrested on September 15, 2001.&nbsp;
Following the entry of the judgment nisi, the trial court failed to issue the
arrest warrant until February 13, 2001.&nbsp; There was a delay of approximately 214
days following the issuance of the warrant.

&nbsp;

(3)&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; There
is no evidence in the record of Powell’s willful breach of the bond
conditions.&nbsp; However, McKenna failed to present any evidence that it was not a
willful breach.

&nbsp;

(4)&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; The
public interest in law enforcement was served by Powell’s reapprehension.&nbsp; There
is no evidence of harm to the public during the intervening period.

&nbsp;

(5)&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; McKenna
attempted to locate Powell throughout the eight-month period after she failed
to appear.&nbsp; Tony Smith testified that he contacted Powell’s family members and
that McKenna offered a $1,000 reward for information leading to her arrest.&nbsp;
They also spoke to various individuals who claimed to have information about
Powell’s whereabouts.&nbsp; Smith testified that he eventually located Powell based
on information from one of these individuals.&nbsp; He promptly notified the
Sheriff’s Department, and Powell was arrested.&nbsp; 

&nbsp;

(6)&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; The
record does not show that the government suffered any prejudice in prosecuting
the criminal case against Powell.

&nbsp;

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Based on
this record, McKenna established that the State did not expend an unreasonable
amount in regaining custody of Powell, she was rearrested within a reasonable
time after the judgment nisi was entered, and McKenna directly participated in
locating Powell. &nbsp;We find that the trial court abused its discretion in failing
to remit part of the bond amount. &nbsp;Lyles, 850 S.W.2d at 502.&nbsp; Appellant's
second issue is sustained.

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; There is authority for the proposition that an appropriate
remittitur can be ordered by the appellate court.&nbsp; Gramercy, 834 S.W.2d
at 382 (citing Johnson v. State, 172 Tex. Crim. 624, 361 S.W.2d 574,
575-76 (1961); Ricard v. State, 171 Tex. Crim. 456, 350 S.W.2d 938,
938-40 (1961); Williams v. State, 159 Tex. Crim. 443, 265 S.W.2d 92, 95
(1954)).&nbsp; Taking into account the requirements of article 22.17 concerning
deduction for court costs, the minimal costs of reapprehending Powell, and
interest on the bond from the date of forfeiture to the date of rearrest, we
order that the judgment of the trial court be reformed to reflect a remittitur
of $15,000.&nbsp; As modified, the judgment of the trial court is affirmed.

&nbsp;

&nbsp;

BILL VANCE

Justice

&nbsp;

Before
Chief Justice Gray,

Justice Vance, and

Justice Reyna

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; (Chief
Justice Gray dissenting)

Reformed
and affirmed

Opinion
delivered and filed October 18, 2006

Publish


[CR25]

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